                                                                                                OlsenDaines
                                                                                                PO Box 12829
                                                                                                Salem, OR 97309-0829




                                                                                                                       Date:      2/14/2018




Regarding:    Krueger, Mike & Mary
Invoice No:   01737




Services Rendered
Date          Staff            Description                                                    Hours       Rate                 Charges
8/01/2017     R                Telephone call with client                                     0.20        $325.00               $65.00
8/28/2017     R                Office conference with client                                  0.20        $325.00               $65.00
8/28/2017     R                Two emails to client with detailed options                     0.10        $325.00               $32.50
9/05/2017     R                Emails with client about timing and having deparate            0.00        $325.00                $0.00
                               attorneys
9/08/2017     R                Email from client, email to client                             0.25        $325.00               $81.25
9/11/2017     R                Email from client, email to client regarding attendance        0.25        $325.00               $81.25
                               at the 341(a).
9/14/2017     R                Email to client regarding how homes sales proceeds             0.25        $325.00               $81.25
                               will be distributed
9/20/2017     R                Emails with Mr. Parker regarding strategy and timing           0.00        $325.00                $0.00
                               (actual time .10)
9/20/2017     R                Emails with client                                             0.20        $325.00               $65.00
9/21/2017     R                Email with client about adjourned 341(a) and chapter           0.30        $325.00               $97.50
                               13 payments
9/21/2017     R                Emails with Mr. Kuni (actual time .10)                         0.00        $325.00                $0.00
9/21/2017     SDC              Draft and get signatures for substitution of attorney          0.00        $135.00                $0.00
                               (actual time .10)
9/25/2017     SDC              File Stipulated Substitution of Attorney (actual time .10)     0.00        $135.00                $0.00
9/25/2017     SDC              Prepare and file change of address (actual time .10)           0.00        $135.00                $0.00
9/26/2017     R                Prepare for, travel and attend 341(a) Meeting of               1.00        $325.00              $325.00
                               Creditors
9/26/2017     R                Email to client regarding tax returns and deadlines            0.25        $325.00               $81.25
9/28/2017     SDC              Receive and review Trustee's Objection                         0.10        $135.00               $13.50
10/05/2017    K                Emails with client regarding trustee payment                   0.20        $325.00               $65.00
10/05/2017    K                Prepare for, travel and attend Confirmation Hearing            0.50        $325.00              $162.50
10/09/2017    R                Emails with client regarding TFS and payment                   0.20        $325.00               $65.00
                               delinquency
10/16/2017    R                Follow up email to client requesting update on home            0.25        $325.00               $81.25
                               sale and creditor Mr. Green
10/26/2017    R                Emails with attorney for Mr. Green and timing                  0.20        $325.00               $65.00
10/27/2017    R                Telephone call with client regarding status of case and        0.20        $325.00               $65.00
                               home sale
10/30/2017    R                Emails with Mr. Parker (actual time .10)                       0.00        $325.00                $0.00
11/07/2017    R                Draft amended chapter 13 plan, phone call with client,         0.75        $325.00              $243.75
                               email to Mr. Parker with copy of plan for his comments.
11/09/2017    R                Email to client, receipt of signed plan by client and Ms.      0.25        $325.00               $81.25
                               Krueger




                                     Case 17-33027-pcm13                     Doc 73         Filed 02/14/18
                                                                                                     OlsenDaines


11/09/2017   SDC   Prepare, file and serve Modified Plan                         0.75      $0.00       $0.00
11/28/2017   R     Emails with client and Mr. Parker regarding update on         0.40      $325.00   $130.00
                   the home sale status
12/04/2017   R     Email from realtor regarding listing agreement and            0.40      $325.00   $130.00
                   reducing the price, emails with Mr. Parker
12/05/2017   R     Review IRS Proof of Claim and ODR Proof of Claim              0.25      $325.00    $81.25
12/05/2017   R     Receive Title Report (actual time .10)                        0.00      $325.00     $0.00
12/05/2017   R     Emails with Mr. Parker regarding price of home and tax        0.25      $325.00    $81.25
                   liens
12/05/2017   R     Receive Estimated Closing Statement (actual time .10)         0.00      $0.00       $0.00
12/05/2017   SDC   Receive and review Motion for Relief (actual time .10)        0.00      $135.00     $0.00
12/06/2017   SDC   Receive and review Amended Motion For Relief                  0.10      $135.00    $13.50
12/08/2017   SDC   Draft amended schedule F and email to client                  0.40      $135.00    $54.00
12/13/2017   R     Conference call with client and attorney Richard              0.80      $325.00   $260.00
                   Parker
12/19/2017   SDC   Prepare and file Response to Motion for Relief                0.20      $135.00    $27.00
12/20/2017   R     Analysis of home proceeds and email to realtor                0.40      $325.00   $130.00
                   regarding short sale procedure
12/27/2017   R     Review of file and trustee payment ledger. Email to           0.25      $325.00    $81.25
                   client regarding payment status
12/27/2017   R     Prepare for and attend Telephone Hearing on Motion            0.50      $325.00   $162.50
                   for Relief
12/27/2017   R     Receive and review copy of email from attorney                0.10      $325.00    $32.50
                   Richard Parker to Kathleen Bickers with IRS regarding
                   offer on home, payoff to IRS
12/28/2017   R     Emails with debtor regarding tax lien status and              0.40      $325.00   $130.00
                   treatment of unsecured and priority amounts
12/28/2017   R     Emails with debtor regarding the chapter 13 payments.         0.40      $325.00   $130.00
                    Email to trustee
12/28/2017   R     Emails with Mr. Parker and the title company with             0.75      $325.00   $243.75
                   estimated closing statement. Reivew tax lien priority
                   between IRS and ODR. Mr. Parker will follow up with
                   IRS. Daines will follow up with ODR and Matt Rowan
                   judgment lien
12/28/2017   R     Prepare for and attend telephonic adjourned                   0.50      $325.00   $162.50
                   confirmation hearing
1/02/2018    R     Emails with Matt Rowan and title company                      0.40      $325.00   $130.00
1/02/2018    R     Email to client regarding status (actual time .10)            0.00      $325.00     $0.00
1/04/2018    R     Email from title company regarding Rowan judgment,            0.75      $325.00   $243.75
                   review state court docket, email to David Gray
                   regarding entry of judgment post-petition. Email to title
                   company
1/04/2018    R     Phone call with ODR. Draft a detailed request for             1.00      $325.00   $325.00
                   release of lien and fax it to the ODR
1/05/2018    R     Draft Notice of Intent to Sell                                0.50      $325.00   $162.50
1/05/2018    SDC   Finalize, file and serve notice of intent to sell             1.00      $135.00   $135.00
1/08/2018    R     Phone call with David Gray, email to David Gray               0.25      $325.00    $81.25
                   regarding Rowan Lien
1/16/2018    R     Draft motion to vacate Rowan lien, Draft Declaration,         1.20      $325.00   $390.00
                   email to Mr. Gray
1/16/2018    R     Phone call to ODR. Emails with title company and Mr.          0.00      $325.00     $0.00
                   Parker regarding status of ODR lien and Rowan lien.
                   (actual time .25)
1/17/2018    SDC   Email to trustee's office with Preliminary Title Report       0.10      $135.00    $13.50
1/17/2018    SDC   Email to Roni with request for preliminary title report       0.10      $135.00    $13.50
1/17/2018    SDC   Email to client requesting 2016 taxes                         0.25      $135.00    $33.75
1/18/2018    R     Emails with the trustee’s off regarding the liens             0.25      $325.00    $81.25
                   showing on the title report
1/24/2018    R     Emails with realtor and title company related to a new        0.40      $325.00   $130.00




                        Case 17-33027-pcm13                     Doc 73         Filed 02/14/18
                                                                                                                  OlsenDaines

                    estimated closing statement updating the various lien
                    amounts

1/24/2018     R     Emails with client                                          0.20          $325.00             $65.00
1/24/2018     R     Check state court docket to verify release of Rowan         0.25          $325.00             $81.25
                    lien and email to title company
1/30/2018     R     Phone call to ODR, emails with title company and Mr.        0.40          $325.00            $130.00
                    Parker regarding status of IRS and ODR liens.
1/30/2018     R     Prepare for and attend Telephone Hearing                    1.00          $325.00            $325.00
2/01/2018     R     Received updated closing statement, email to trustee.       0.50          $325.00            $162.50
                    Emails to Mr. Parker and title company.
2/02/2018     R     Follow up emails to the trustee’s office related to         0.75          $325.00            $243.75
                    trustee’s outrageous commission and title company.
2/02/2018     R     Email to client regarding status (actual time .10)          0.00          $325.00              $0.00
2/05/2018     R     Calculation of remaining claims and feasibility of          0.75          $325.00            $243.75
                    chapter 13. Email client
2/05/2018     SDC   Prepare and upload order approving sale                     0.40          $135.00             $54.00
2/08/2018     R     Emails with Mr. Parker about necessary changes to           0.25          $325.00             $81.25
                    the OCP
2/14/2018     R     Review amended IRS PoC. Email and phone call with           0.40          $325.00            $130.00
                    IRS
2/14/2018     R     Make changes to OCP                                         0.20          $325.00             $65.00
2/14/2018     R     Emails with IRS regarding a further amendment to PoC        0.20          $325.00             $65.00
2/14/2018     R     Emails and phone calls with client regarding timing of      0.50          $325.00            $162.50
                    divorce and coordinating with divorce attorney
2/14/2018     R     Emails from client, emails to client regarding payments     0.50          $325.00            $162.50
                    and issues related to converting the case to a chapter
                    7 and the upcoming confirmation hearing

                                                                                           Total Fees           $7,377.75



Total New Charges                                                                                               $7,377.75

                                                                                   Total Amount Due this Bill   $7,377.75




                         Case 17-33027-pcm13                   Doc 73         Filed 02/14/18
